Case 3:19-cr-00094-B Document 1 Filed 02/21/19   Page 1 of 5 PageID 8
Case 3:19-cr-00094-B Document 1 Filed 02/21/19   Page 2 of 5 PageID 9
Case 3:19-cr-00094-B Document 1 Filed 02/21/19   Page 3 of 5 PageID 10
  Case 3:19-cr-00094-B Document 1 Filed 02/21/19   Page 4 of 5 PageID 11



                                              A TRUE BILL




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Indictment-Page 4 of 4
Case 3:19-cr-00094-B Document 1 Filed 02/21/19   Page 5 of 5 PageID 12
